Filed 09/05/23                                Case 23-02064                                          Doc 1



             1   LAW OFFICE OF WILLIAM J. HEALY
                 WILLIAM J. HEALY, #146158
             2   748 Holbrook Pl.
                 Sunnyvale, CA 94087
             3   Telephone: (408) 373-4680
             4   ATTORNEYS FOR
                 ELDENA CROSS, INDIVIDUALLY AND
             5   AS TRUSTEE OF THE CROSS FAMILY
                 TRUST DATED NOVEMBER 12, 2008
             6
             7                          UNITED STATES BANKRUPTCY COURT
             8                           EASTERN DISTRICT OF CALIFORNIA
             9                                    (Sacramento Division)
           10    In re:                        )
                                               )             Case No. 22-22056-A-7
           11    DAVID R. MICHAL,              )
                                               )             CHAPTER 7
           12                     Debtor.      )
                                               )
           13                                  )
                                               )
           14                                  )
                                               )             Adversary Proceeding Case No.
           15    ELDENA CROSS, INDIVIDUALLY    )
                 AND AS TRUSTEE OF THE CROSS   )
           16    FAMILY TRUST DATED NOVEMBER )
                 12, 2008,                     )
           17                                  )
                                  Plaintiffs,  )
           18                                  )
                       v.                      )
           19                                  )
                 DAVID R. MICHAL,              )
           20                                  )
                             Defendant.        )
           21                                  )
                                              )
           22                                  )
           23        COMPLAINT FOR DETERMINATION OF NON- DISCHARGEABILITY OF DEBT
           24             PURSUANT TO 11 U.S.C. §§ 523(a)(2)(A), 523 (a)(4), AND 523(a)(6)

           25             Creditors ELDENA CROSS, INDIVIDUALLY AND AS TRUSTEE OF THE CROSS
           26    FAMILY TRUST DATED NOVEMBER 12, 2008 (“Plaintiffs”), plaintiffs herein, allege as
           27    follows:
           28


                                                        Page -1-
Filed 09/05/23                                        Case 23-02064                                                       Doc 1



             1                                                  I. PARTIES
             2           1. Plaintiffs are individuals, trustees, and co-trustee of a trust and a trust and creditors of the
             3   Debtor in the Bankruptcy Case as hereinafter defined. Plaintiffs are hereinafter jointly referred to as
             4   Plaintiffs.
             5           2. Defendant DAVID R. MICHAL (“Debtor”, “Defendant”, and/or “Michal”) is the debtor
             6   in the above captioned bankruptcy case (“Bankruptcy Case”) and is believed to reside at 263
             7   Ironwood Lane, Redding, CA 96003, City of Redding, County of Shasta, and State of California at
             8   relevant times and currently.
             9                                     II. JURISDICTION AND VENUE
           10            3. This adversary proceeding arises under title 11, or arises in or is related to the Bankruptcy
           11    Case, within the meaning of 28 U.S.C. § 1334(b). This Court therefore has jurisdiction over this
           12    adversary proceeding pursuant to 28 U.S.C. §§ 157(a), 157(b), 1334(b) and 1334(e) and Rule 5011-1
           13    of the Bankruptcy Local Rules of the United States District Court for the Northern District of
           14    California, including jurisdiction to enter a final judgment.
           15            4. This is an adversary proceeding to determine the dischargeability of debts owed by the
           16    Debtor to the Plaintiffs and objections to discharge and therefore is a core proceeding pursuant to 28
           17    U.S.C. § 157(b)(2)(A), (i), (J), and (O). To the extent necessary, Plaintiffs consent to entry of a final
           18    judgment by this Court.
           19            5. Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).
           20            6. Defendant is subject to the jurisdiction of this Court due to, among other things, his
           21    voluntary bankruptcy filing in this Court.
           22                                III. GENERAL FACTUAL ALLEGATIONS
           23            7. State Court Action.
           24            8. On March 17, 2017 with the filing of a verified complaint Plaintiffs commenced a state
           25    court action entitled Eldena Cross, Individually and as Trustee of the Cross Family Trust Dated
           26    November 12, 2008 v. Steven Douglas Schisler, . . . David Michal, et al, Nevada County Superior
           27    Court Case No.: CU17-082183 (“State Court Action”). A true and correct copy of the Verified
           28    Complaint in the State Court Action is attached hereto and incorporated herein as Exhibit A.


                                                                  Page -2-
Filed 09/05/23                                        Case 23-02064                                                      Doc 1



             1          9. In the State Court Action Plaintiffs asserted, in a verified Complaint, causes of action
             2   against Defendant David Michal, and others, for Financial Elder Abuse With Enhanced Remedies
             3   (Welf. And Inst. Code 15610.30, 15657.5), Return of Trust Assets and Award of Double Damages
             4   (Probate Code 850 (a)(3)(B), 859), Conversion, Breach of Contract, Breach of the Covenant of Good
             5   Faith and Fair Dealing, Money Had and Received, and Unlawful Business Act.
             6          10. In the State Court Action, Plaintiffs alleged, in a verified Complaint, that, inter alia1:
             7          (a) Decedent2 was raised in the back country of Tennessee. After dating for approximately
             8   seventeen (17) years, Decedent and Plaintiff3 were married in 1997. For much of their relationship,
             9   Decedent and Plaintiff were partners in a cherry orchard, which took a considerable amount of their
           10    money, blood, sweat, and tears to make it successful.
           11           (b) In time, Steven Schisler arranged for Decedent and Plaintiff to meet Defendant Michal4.
           12    Initially Michal wanted Decedent and Plaintiff to invest $400,000 in the North Carolina project and
           13    come into the project as partners.
           14           (c) In order to induce Decedent to invest the full $400,000, Defendant Michal put together a
           15    presentation on the project and presented it to Decedent and Plaintiff.
           16           (d) Concerned about paying taxes on the proceeds from the sale of the cherry farm out of the
           17    $400,000 Defendant Michal wanted Decedent, Plaintiff, or the Trust5 to invest, Defendant Michal
           18    offered to loan money to Decedent should he need additional funds for taxes.
           19           (e) In or about September 2014, Decedent purportedly agreed to loan $300,000 to Defendant
           20    Michal through Murchison Asset Group in the form of a secured convertible promissory note.
           21
                 1
           22     The allegations in this Complaint are not, unless indicated, exact quotes from the State Court
                 Action but are slightly modified for ease of reading and for the purposes of this Complaint. As
           23    necessary this court could and can take judicial notice of the exact allegations from the State
                 Court Action pursuant to Federal Rules of Evidence, Rule 201.
           24    2
                 For purposes of the State Court Action and State Court Judgment “Decedent” means Howard
           25    D. Cross, Sr., spouse of Eldena M. Cross and trustee of the Cross Family Trust.
                 3
           26    For purposes of the State Court Action and State Court Judgment “Plaintiff” generally means
                 Eldena M. Cross, spouse of Howard D. Cross, Sr., and trustee of the Cross Family Trust.
           27    4
                  For the purposes of this Complaint “Defendant Michal” or “Michal” means David Michal, Debtor,
           28    and Defendant herein.
                 5
                 For purposes of the State Court Action and State Court Judgment “Trust” generally means the
                 Cross Family Trust.
                                                            Page -3-
Filed 09/05/23                                       Case 23-02064                                                     Doc 1



             1   Accordingly, on or about September 10, 2014, Defendant Michal executed a Secured Convertible
             2   Promissory Note (“Promissory Note”). The Promissory Note matured in two years.
             3            (f) The Promissory Note represents that the Trust is an “accredited investor” under the
             4   Securities Act of 1933–neither the Trust, Decedent, nor Plaintiff was or is an ‘accredited investor’ or
             5   ‘sophisticated investor’.
             6            (g) At the time the Promissory Note was negotiated and executed, Decedent was legally blind
             7   and partially deaf. At all times relevant to this action, Decedent and Plaintiff were 65 years of age or
             8   older and residents of the State of California
             9            (h) Defendant Michal directed Decedent to wire $160,000 to Defendant Michal and $140,000
           10    to Defendant Melton6.
           11             (i) After the Promissory Note was signed, Defendant Michal made most of the required
           12    quarterly interest payments, but always late.
           13             (j) Decedent and Plaintiff became concerned about the character of Defendant Michal and
           14    therefore were reluctant to exercise the option to become full partners in Murchison Asset Group.
           15             (k) In or about August 2015, Decedent declined to exercise the Trust’s option to convert the
           16    Promissory Note, instead requesting the return of their $300,000 in principal pursuant to the terms of
           17    the Promissory Note.
           18             (l)Decedent died on March 15, 2016. At that time, Plaintiff became the sole trustee of the
           19    Trust.
           20             (m) The Promissory Note matured on September 10, 2016. At that time, Defendant Michal
           21    failed to make payment for all unpaid principal and unpaid and accrued interest.
           22             (n) After Defendant Michal defaulted in the Promissory Note, Plaintiffs, through counsel,
           23    contacted Defendant Michal to discuss the status of the Promissory Note. Defendant Michal stated
           24    he needed approximately 90 days to liquidate some assets in order to make the payments required
           25    under the terms of the Promissory Note. Those 90 days passed and Defendant Michal did not make
           26    any payments to Plaintiffs (including quarterly interest payments).
           27
           28    6
                  Plaintiffs believe these figures should be $150,000 to Defendant Michal through Legacy
                 Partners 314, LLC and $150,000 to Defendant Melton through Integrated Management
                 Consulting LLC.
                                                               Page -4-
Filed 09/05/23                                       Case 23-02064                                                      Doc 1



             1           (o) Defendant Michal took, secreted, appropriated, obtained, or retained, or assisted in taking,
             2   secreting, appropriating, obtaining, or retaining, property belonging to Decedent, Plaintiff, or the
             3   Trust for a wrongful use or with the intent to defraud Decedent, Plaintiff, or the Trust.
             4           (p) As a result of the actions of the Defendant Michal, Decedent, Plaintiff, or the Trust were
             5   harmed.
             6           (q) Defendant Michal knew or should have known that their conduct was likely to be harmful
             7   to Decedent, Plaintiff, of the Trust.
             8           (r) The Conduct of Defendant Michal was a substantial factor in causing harm to Decedent,
             9   Plaintiff, or the Trust.
           10            (s) Defendant Michal took, secreted, appropriated, obtained, or retained, or assisted in taking,
           11    secreting, appropriating, obtaining, or retaining, property belonging to Decedent, Plaintiff, or the
           12    Trust by undue influence, as defined in Welfare and Institutions Code section 15610.70. During the
           13    planning, preparation, and execution of the Promissory Note, Defendant Michal exerted excessive
           14    persuasion and control that caused Decedent, Plaintiff, or the Trust to act by overcoming the free will
           15    of Decedent, Plaintiff, or the Trust, and the actions of Defendant Michal resulted in inequity.
           16            (t) Throughout the planning, preparation, and execution of the transaction, Decedent had
           17    declining health, was aged, blind, and suffered from extreme hearing loss.
           18            (u) The apparent authority for Defendant Michal includes his status as an investment advisor
           19    or potential business partner.
           20            (w) Defendant Michal controlled Decedent’s access to information regarding the Promissory
           21    Note and North Carolina real estate project and used affection, intimidation, or coercion to unduly
           22    influence Decedent or Plaintiff.
           23            (x) At all times relevant, a confidential relationship existed between Defendant Michal and
           24    Decedent, Plaintiff, or the Trust. Decedent or Plaintiff reposed trust and confidence in the integrity
           25    and fidelity of Defendant Michal and actively participated in initiating changes in the personal or
           26    property rights of Decedent or Plaintiff and the results of the actions are inequitable.
           27            (y) Decedent, Plaintiff, or the Trust had a right to have the property transferred made
           28    available to them or their fiduciary, and Defendant Michal knew or should have known the


                                                                 Page -5-
Filed 09/05/23                                      Case 23-02064                                                       Doc 1



             1   Decedent, Plaintiff, or the Trust has this right. Based on the information received Defendant Michal,
             2   it would have been obvious to a reasonable person that Decedent, Plaintiff, or the Trust had the right
             3   to have the property transferred or made available to them or their fiduciary.
             4          (z) The conduct of Defendant Michal constitutes financial abuse under Welfare and
             5   Institutions Code section 15657.5, as defined in Welfare & Institutions Code 15610.30.
             6   Defendant Michal acted with recklessness, oppression, fraud, or malice in the commission of the
             7   financial abuse of Decedent, Plaintiff, or the Trust. Under Civil Code 3345 Defendant Michal is
             8   liable for treble damages. Additionally, by engaging in the acts alleged herein, Defendant Michal in
             9   bad faith wrongly took, concealed, or disposed of property belonging to Decedent, Plaintiff, or the
           10    Trust, or took, concealed, or disposed of the property by the use of undue influence or through the
           11    commission of financial abuse under Welfare & Institutions Code section 15657.5, as defined in
           12    Welfare & Institutions Code section 15610.30, thereby justifying an award of damages equal to twice
           13    the value of the property, as well as attorney fees and costs, pursuant to Probate Code section 859.
           14           11. State Court Judgment.
           15           12. On May 23, 2017 Defendant Michal was personally served with the Summons &
           16    Complaint and related documents in the State Court Action at his residential address of
           17    263 Ironwood Lane, Redding, CA 96003. On or about May 16, 2017 other defendants, namely
           18    Murchison Asset Group, LLC, Murchison Equity, LLC, Legacy Partners 314, LLC, and Reaven, Inc.,
           19    all companies owned or managed by Defendant Michal, and were personally served through their
           20    respective designated agents for service of process.
           21           13. On July 18, 2017 Defendant Michal was served with Requests For Default for several
           22    defendants, including himself, at his residential address of 263 Ironwood Lane, Redding, CA 96003.
           23           14. On July 18, 2017 the default of Defendant Michal was entered in the State Court Action.
           24           15. In addition, between at least July 18, 2017 and July 13, 2018 Defendant Michal was
           25    served with various pleadings from the State Court Action at his residential address of 263 Ironwood
           26    Lane, Redding, CA 96003. Further, according to the docket in the State Court Action, Defendant
           27    Michal, his attorney K. Thomas Smith, Jr., and his four (4) companies, namely Murchison Asset
           28    Group, LLC, Murchison Equity, LLC, Legacy Partners 314, LLC, and Reaven, Inc., were each


                                                                Page -6-
Filed 09/05/23                                      Case 23-02064                                                     Doc 1



             1   served with pleadings in the State Court Action, i.e. July 10, 2017, July 18, 2017, July 24, 2017,
             2   September 1, 2017, October 10, 2017, April 16, 2018, and July 13, 2018.
             3          16. On July 13, 2018 Plaintiffs served Defendant Michal, at his residential address of
             4   263 Ironwood Lane, Redding, CA 96003, with a Request For Entry of Default, Plaintiff Eldena
             5   Cross’s Supplement To “Request For (Application) Court Judgment” Upon Declaration, Including”,
             6   Declaration of Plaintiff Eldena Cross Authenticating Promissory Note, Declaration of Plaintiff
             7   Eldena Cross In Support of Request For Entry of Court Judgment After Default, Proposed Judgment,
             8   and Proof of Service Re Documents In Support of Request For Court Judgment After Default all in
             9   support of a request for entry of a court judgment in the State Court Action. A true and correct copy
           10    of Declaration of Plaintiff Eldena Cross Authenticating Promissory Note, Declaration of Plaintiff
           11    Eldena Cross In Support of Request For Entry of Court Judgment After Default is attached hereto
           12    and incorporated herein as Exhibit B.
           13           17. On July 13, 2018 the Nevada County Superior Court entered judgment in the State Court
           14    Action against Defendant David Michal for a total of $1,078,778.70, consisting of damages of
           15    $300,000, prejudgment interest of $48,789.04, attorney’s fees of $27,797.50, costs of $4,614.02, and
           16    statutory enhancements of $697,578.14 (pursuant to California Probate Code 859 and Civil Code
           17    3345) (“State Court Judgment”). A true and correct copy of the State Court Judgment as found in the
           18    court file is attached to and incorporated herein as Exhibit C.
           19           18. On July 16, 2018 Plaintiffs, through counsel, served a Notice of Entry of Judgment on
           20    Defendant Michal at his residential address of 263 Ironwood Lane, Redding, CA 96003, giving
           21    Defendant notice of the entry of the State Court Judgment. A true and correct copy of the Notice of
           22    Entry of Judgment as found in the court file is attached to and incorporated herein as Exhibit D. No
           23    appeal or challenge to the State Court Judgment was made by or on behalf of Defendant and
           24    therefore the State Court Judgment was final no later than September 14, 2018 (Cal.Code.Civ.Proc.
           25    1235.210).
           26           19. From approximately July 2017 through February 2018 Plaintiffs counsel and counsel for
           27    Defendant Michal (K. Thomas Smith, Jr.) negotiated towards a settlement agreement to resolve the
           28    State Court Action but Defendant Michal refused to sign the agreement or make the initial down


                                                                Page -7-
Filed 09/05/23                                      Case 23-02064                                                       Doc 1



             1   payment. Specifically, on February 9, 2018 Plaintiffs counsel advised Defendant Michal’s counsel
             2   that Plaintiffs had elected to proceed with the prove up hearing and entry of default judgment if
             3   payment is not received by Monday (February 12, 2018).
             4          20. Three years later, on March 8, 2021, Defendant Michal, and his new counsel (Aaron W.
             5   Moore), signed a Conditional Settlement Agreement and Mutual Release relating to the State Court
             6   Action and State Court Judgment and which specifically noted, inter alia:
             7                  (a) On March 17, 2017 the Complaint in the State Court Action was filed against
             8                  Defendant Michal;
             9                  (b) On July 18, 2017 the clerk of the court entered a default against Defendant Michal
           10                   in the State Court Action;
           11                   (c) On July 13, 2018 the State Court Judgment was entered in the State Court Action
           12                   against Defendant Michal for $1,078,778.70;
           13                   (d) On July 16, 2018 Notice of Entry Of Judgment providing notice of the State Court
           14                   Judgment in the State Court Action was served on all necessary parities; and
           15                   (e) Defendant Michal had, pursuant to the terms, an opportunity to purchase rights to
           16                   the Promissory Note and the State Court Judgment.
           17           21. Defendant Michal did not perform, timely or otherwise, on the Conditional Settlement
           18    Agreement and Mutual Release thus, pursuant to its terms, it became void without any right of
           19    enforcement.
           20           22. On August 11, 2022 Plaintiffs recorded an Abstract of Judgment with the Shasta County
           21    Assessor/Recorder (Document #2022-0024337) perfecting Plaintiff’s judgment lien against
           22    Defendant Michal’s interest in real property in the County of Shasta, including his residential real
           23    property of 263 Ironwood Lane, Redding, CA 96003 pursuant to the State Court Judgment.
           24           23. As of the Petition Date, no part of the State Court Judgment has been paid or satisfied.
           25           24. Bankruptcy Case.
           26           25. This Bankruptcy Case was commenced on August 18, 2022 (the “Petition Date”) by filing
           27    an involuntary petition under chapter 11 of the Bankruptcy Code.
           28           26. On June 6, 2023 this court entered a Judgment Ordering Relief (Doc#111) and issued a


                                                                Page -8-
Filed 09/05/23                                        Case 23-02064                                                          Doc 1



             1   Notice of Chapter 7 Bankruptcy Case setting a deadline of September 12, 2023 for objection to
             2   discharge or to challenge certain debts as nondischargeable (Doc#114)(see Federal Rules of
             3   Bankruptcy Procedure 4004 (a)).
             4           27. On July 17, 2023 the court issued a Notice to File Proof of Claim Due To Possible
             5   Recovery of Assets and set a Deadline to File a Proof of Claim as October 16, 2023 (Doc#162).
             6           28. On June 9, 2023 Plaintiffs, or Eldena M. Cross, individually and Trustee of the Cross
             7   Family Trust (“Cross”) file a Proof of Claim (“Claim No. 1"). As of the date of this Complaint, no
             8   objection to Claim No. 1 has been filed.
             9                                   FIRST CLAIM FOR RELIEF
           10                 (For Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(2)(A))

           11            29. Plaintiffs repeat and reallege the allegations in above paragraphs 1 through 28, inclusive,
           12    as though fully set forth herein.
           13            30. 11 U.S.C. 523 (a)(2)(A) provides, in pertinent part, that a discharge does not discharge an
           14    individual debtor from any debt “for money, property, services, or an extension, renewal, or
           15    refinancing of credit, to the extent obtained by . . . false pretenses, a false representation, or actual
           16    fraud, other than a statement respecting the debtor’s or an insider’s financial condition”.
           17            31. Defendant’s acts and omissions, as described hereinabove, constitute false pretenses,
           18    false representations, or actual fraud.
           19            32. Defendant’s acts or omissions, as described hereinabove, were done intentionally,
           20    purposely, and/or willfully.
           21            33. Defendant’s acts or omissions, as described hereinabove, were false, and he knew they
           22    were false when he made them. Alternatively, or simultaneously, Defendant concealed the
           23    knowledge that the representations were false and intended to deceive. Defendant intended that
           24    Plaintiffs’ rely on the representations that were made, Plaintiffs reasonably and justifiably relied
           25    upon these representations as demonstrated by, among other things, their going forward with the
           26    transaction, Plaintiffs did not know the true facts, and had Plaintiffs known the true facts they would
           27    not have completed the transaction. As a result, the Plaintiffs have been substantially damaged as
           28    indicated hereinabove.


                                                                  Page -9-
Filed 09/05/23                                      Case 23-02064                                                       Doc 1



             1          34. The State Court Action alleged, in part, and the State Court Judgment is based upon
             2   findings of Financial Elder Abuse With Enhanced Remedies (Welf. And Inst. Code 15610.30,
             3   15657.5), Return of Trust Assets and Award of Double Damages (Probate Code 850 (a)(3)(B), 859),
             4   Conversion, Breach of Contract, Breach of the Covenant of Good Faith and Fair Dealing, Money
             5   Had and Received, and Unlawful Business Act.
             6          35. The conduct of Defendant Michal constitutes financial abuse under Welfare and
             7   Institutions Code section 15657.5, as defined in Welfare & Institutions Code 15610.30.
             8   Defendant Michal acted with recklessness, oppression, fraud, or malice in the commission of the
             9   financial abuse of Decedent, Plaintiff, or the Trust. Under Civil Code 3345 Defendant Michal was
           10    found liable for treble damages.
           11           36. Additionally, by engaging in the acts alleged herein, Defendant Michal in bad faith
           12    wrongly took, concealed, or disposed of property belonging to Decedent, Plaintiff, or the Trust, or
           13    took, concealed, or disposed of the property by the use of undue influence or through the
           14    commission of financial abuse under Welfare & Institutions Code section 15657.5, as defined in
           15    Welfare & Institutions Code section 15610.30, thereby justifying an award of damages equal to twice
           16    the value of the property, as well as attorney fees and costs, pursuant to Probate Code section 859.
           17           37. Further, the State Court Judgment found that Defendant was liable for enhancement
           18    penalty and attorney’s fees pursuant to Cal.Probate.Code 859 which provides, in pertinent part:
           19                   “If a court finds that a person has in bad faith wrongfully taken, concealed, or
           20                   disposed of property belonging to a conservatee, a minor, an elder, a dependent adult,
                                a trust, or the estate of a decedent, or has taken, concealed, or disposed of the property
           21                   by the use of undue influence in bad faith or through the commission of elder or
           22                   dependent adult financial abuse, as defined in § 15610.30 of the Welfare and
                                Institutions Code, the person shall be liable for twice the value of the property
           23
                                recovered by an action under this part. In addition, except as otherwise required by
           24                   law, including § 15657.5 of the Welfare and Institutions Code, the person may, in the
           25                   court’s discretion, be liable for reasonable attorney’s fees and costs. The remedies
                                provided in this section shall be in addition to any other remedies available in law to a
           26
                                person authorized to bring an action pursuant to this part.”
           27
           28           38. Accordingly, the State Court Judgment found that Defendant had taken, concealed, or



                                                               Page -10-
Filed 09/05/23                                        Case 23-02064                                                     Doc 1



             1   disposed of the property by the use of undue influence in bad faith or through the commission of
             2   elder or dependent adult financial abuse. Pursuant to Cal.Welfare & Institutions Code 15610.30 (a)
             3   states, in pertinent part:
             4               “(a) “Financial abuse” of an elder or dependent adult occurs when a person or entity
             5               does any of the following:
                                     (1) Takes, secretes, appropriates, obtains, or retains real or personal property
             6                       of an elder or dependent adult for a wrongful use or with intent to defraud, or
             7                       both.
                                     (2) Assists in taking, secreting, appropriating, obtaining, or retaining real or
             8
                                     personal property of an elder or dependent adult for a wrongful use or with
             9                       intent to defraud, or both.
           10                        (3) Takes, secretes, appropriates, obtains, or retains, or assists in taking,
                                     secreting, appropriating, obtaining, or retaining, real or personal property of an
           11
                                     elder or dependent adult by undue influence, as defined in Section 15610.70.
           12                (b) A person or entity shall be deemed to have taken, secreted, appropriated, obtained,
           13                or retained property for a wrongful use if, among other things, the person or entity
                             takes, secretes, appropriates, obtains, or retains the property and the person or entity
           14
                             knew or should have known that this conduct is likely to be harmful to the elder or
           15                dependent adult.
           16                (c) For purposes of this section, a person or entity takes, secretes, appropriates,
                             obtains, or retains real or personal property when an elder or dependent adult is
           17
                             deprived of any property right, including by means of an agreement, donative transfer,
           18                or testamentary bequest, regardless of whether the property is held directly or by a
           19                representative of an elder or dependent adult . . .”
                         WHEREFORE, the Plaintiffs pray for judgment as set forth below.
           20
                                                     SECOND CLAIM FOR RELIEF
           21
                                (For Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(4))
           22
                         39. Plaintiffs repeat and reallege the allegations in above paragraphs 1 through 38, inclusive,
           23
                 as though fully set forth herein.
           24
                         40. 11 U.S.C. 523 (a)(4) provides, in pertinent part, that a discharge does not discharge an
           25
                 individual debtor from any debt “for fraud or defalcation while acting in a fiduciary capacity,
           26
                 embezzlement, or larceny”.
           27
                         41. Further, Defendants’ acts and omissions as described hereinabove constituted fraud,
           28


                                                                Page -11-
Filed 09/05/23                                       Case 23-02064                                                     Doc 1



             1   including as addressed by California Civil Code, i.e. §1571- 1573 (fraud, actual or constructive) and
             2   §1710 (fraud, including intentional misrepresentation, concealment, and false promise), larceny, and
             3   conversion.
             4          WHEREFORE, the Plaintiffs pray for judgment as set forth below.
             5                                       THIRD CLAIM FOR RELIEF
             6                 (For Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(6))
             7          42. Plaintiffs repeat and reallege the allegations in above paragraphs 1 through 41, inclusive,
             8   as though fully set forth herein.
             9          43. 11 U.S.C. 523 (a)(6) provides, in pertinent part, that a discharge does not discharge an
           10    individual debtor from any debt “for willful and malicious injury by the debtor to another entity or to
           11    the property of another entity”.
           12           44. Defendant’s acts and omissions as described hereinabove were done with the subjective
           13    motive to inflict the injury, and/or when Debtor believed that injury was substantially certain to
           14    occur as a result of his conduct and caused the resulting harm to Plaintiffs as indicated hereinabove.
           15           45. Further, Defendants’ acts and omissions as described hereinabove constituted fraud,
           16    including as addressed by California Civil Code, i.e. §1571- 1573 (fraud, actual or constructive) and
           17    §1710 (fraud, including intentional misrepresentation, concealment, and false promise), larceny, and
           18    conversion.
           19           WHEREFORE, the Plaintiffs pray for judgment as set forth below.
           20                                          PRAYER FOR RELIEF
           21           WHEREFORE, Plaintiffs pray for relief as follows:
           22           1. On the First, Second, and Third Claims for Relief, an Order of this Court determining that
           23    the full amount of Debtor’s debt to Plaintiffs is excepted from discharge and is non-dischargeable
           24    pursuant to 11 U.S.C. §§ 523(a)(2)(A), 523 (a)(4), and 523(a)(6).
           25           2. For such other and further relief as the Court deems just and equitable.
           26    Dated: September 5, 2023
           27                                                  LAW OFFICE OF WILLIAM J. HEALY
           28                                                  /s/ William J. Healy
                                                               William J. Healy


                                                               Page -12-
Filed 09/05/23     Case 23-02064   Doc 1




                 EXHIBIT A
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23     Case 23-02064   Doc 1




                 EXHIBIT B
Filed 09/05/23                                                                                       Case 23-02064                                     Doc 1

                                                                               園岡                                       霜田圏


                                                             島措藍千絵豊嵩玄能
                                                         1




                                                        2    FORETHOUGH丁LAW, PC
                                                              l lO=nves†men† Boulevard, S而e 150
                                                                                                                       酎」臣抄
                                                             醒e離艶藍m
                                                        3    EI Dorado H川s, CA 95762

                                                        4
                                                             Emq吊
                                                        5
                                                                                                                      State of CaIifomia
                                                                                                                      Coun‡y of Nevad@
                                                        6    A什omeys fo「 Eldena Cross


                                                        7


                                                        8                       iN THE SUPERlOR COURT OF THE S丁ATE OF CALIFORNIA
                                                        ○/




                                                                                           iN AND FORTHE COUNTYOF NEVADA
                                                        0
                                                ﹁iiii




                                                                                                                 Case N0. CU17‑082183
   Ud(きく﹂十日○⊃○出卜円錐○山

                       重点j




                                                              苦難慧舘嵩豊壇と藍苦寄 丁O 〃REQUES丁F?賦PLIC佳き鵠謎対                PLAIN丁IFF ELDENA CROSS′S SUPPLEMEN丁
                       SU︺鵡︺SU感の︺S櫨古館




                                                              2008,                                             」UDGMEN丁〃
                                                                             PIoin冊,
                                                                                                                lNCLUDING:

                                                                                                                     1. IDEN丁iFIC∧丁!ON OF P∧R¶ES;
                                                        ﹁O
                                         i〇〇〇




                                                                                                                     2. NA丁URE OF CLAiM;
                                         「6                  S丁EVEN DOUGLAS SCHISLER,         an
                                                             individuaL; 」ACOB DOUGLAS SCHISLER,                     3. 」UDGMENT TO BE ENTERED;
                                         「7
                                                             an individuaI;           SYNERGY WEAL丁H
                                                             MANAGEMEN丁, LLC, a Ca庸omia Limi†ed                      4. INTEREST COMPU丁ATIONS;
                                        「8


                                        「9                   艶二露盤蒜謙綴
                                                             MANAGEMEN丁, LLC, a North Carolina
                                                                                                                     5. MEMORANDUM OF COSTS AND
                                                                                                                       DISBURSEMENTS;

                                                                                                                     6. ATTORNEY FEE REQUEST; AND
                                        20
                                                             擢親書y書冊↑鰐と塩島
                                        2「                                                                           7. DECLARATION OF NON̲M皿TARY

                                        22

                                        23

                                        24
                                                             艶轄鵡鑑
                                                             MICHAL, an individuai; and DOES l
                                                             †hrough 50, inclusive,
                                                                                                                括告辞轟§ 858′ SUbd. (b)′ (d); Rule



                                        25                                                                      音譜盤三富 先端第77
                                                                                      Defenda n†s.

                                        2くら


                                        27

                                        28
Filed 09/05/23                                                                               Case 23-02064                                                Doc 1

                                                                               函田園因                                  園田
                                                    「              Eidena Cross, individually and as Trus†ee o白he Cross Fam申y Trus† da†ed November 1 2,


                                                    2    2008 (    Ms. Cross    ), SUbmi†s †he f〇月owing inf。rma†i。n in support of her Reques† fo「 Entry of


                                                    3    Cou什」udgmen† agains† Defendan†s Murchison Asse† Group′ LLC′ Murchison Eq而y, LLC, Legacy


                                                    4    Pa血ers 314, LLC, Reaven, Inc., and David Michal:


                                                    5
                                                                                            iDEN丁IFICA丁ION OF PAR丁iES
                                                    6


                                                    7             Eldeno Cross and柘e Cross Fomily Trusf・ The Cross Family Trus† was es†abIished under


                                                    8    a †rus†agreemen† da†ed November 1 2, 2008 (†he      丁rus†〃), by Howard D. Cross, Sr. (〃Mr. Cross〃)


                                                    9    and Eidena M. Cross (〃Ms. Cross〃). Mr. C「oss died on March 15, 2016, a reSideniof Nevada


                                               10 = C。Un†y, California. A †rue and correc† c。Py O白he dea†h certifica†e, aS aPPrOPria†ely redac†ed,
                                                    ︒‑
                                               1




                                                         is already on file w刷†he Court. No proceeding is now pending in CaIifornia for adminis†ra†ion
   Ud.きく﹂五霞○⊃○出富山缶○山


                                               ﹁
                       調こ⁝]S〇㌦臼USU賀田∴㍗㌫こ.﹁)鳥



                                                    2
                                               ﹁‑




                                                         Of Mr. Cross′s es†a†e・ Ms. Cross is †he T「us†ee o白he T「us†′ †he curren† so‑e beneficiary o白he
                                               ﹁

                                                    3
                                               ﹁




                                                         Trus†′ and †he wife of Mr・ Cross. Ms. Cross resides in Nevada Coun†y′ and †he principal p‑ace
                                                    4




                                                         Of adminis†ra†ion of †he Trus† is Nevada Cou申, Ca冊o「nia.
                                                    ○○




                                                                  肌rc信son AsseナGroup′ LLC. Murchison Asse† Group′ LLC is a Iim融Iiab冊y company




                                                                                                         2
Filed 09/05/23                                                                             Case 23-02064                                         Doc 1

                                                                        圏国産                                    園圏
                                              1                                                  NATURE OF CLAIM

                                              2
                                                             Ms. Cross′s claims s†em from a promisso「y no†e en†ered in†o by Defendan† Michai
                                              3
                                                    †hrough Defendan† Murchison Asse† Gr。UP (which, in †urn, OWned and opera†ed by Defendan†
                                              4
                                                    Mu「chis。n Equi†y, Defendon† Legacy Pa血ers, and Defendan† Reaven) in favor o白he T「us†, †he
                                              5
                                                    asse†s ofwhich beiong †o Mr. Cross and Ms. Cross‑bo†h ofwhom were over†he age of65 and
                                              る
                                                    Califomia residen†s a† aIl reievan川mes.
                                              7
                                                            A什er†aking $300,000 fr。m Mr・ Cross, Ms. Cross, and †he丁rus†, Defendan† Michal (on
                                              8
                                                    behalf of Defendan† Reaven′ On behalf of Defendan† Legacy Partners, On beha肝of Defendan†
                                              9
                                                   Murchison Equi†y, 。n behaif of Defendan† Murchison Asse† Group) made quarterly而eres†
                                         「0

                                                   Paymen†s′ †h。Ugh always Ia†e・ When †he promissory n。†e ma†ured, Defendan† Michal (on behaIf
                                         「「
   Ud.きく﹂最出UnO宙白山出○山

                       重点J




                                                   Of Defendan† Reaven′ On behalf of Defendan† Legacy Parfners, On behalf of Defendan†
                                         「2
                       S①︺館︺SU⁚昭の㌫n古館




                                                   Murchis。n Equi†y, On behaIf of Defendan† Murchison Asse† Group) faiIed †o make †he required
                                         「3

                                                   P「incipal and而eres† paymen†s, †hereby re†aining †he asse†s of Ms. Cross and †he Trus†)‑an
                                         「4
                                                   ac†jon †ha† Defendan† Michal (。n behalf of Defendan† Reaven, On beha廿ofじefendan廿egacy
                                        「5
                                                   Pariners′ On behaif of Defendan† Murchison Equi†y, On behaIf of Defendan† Murchison Asse†
                                        「6
                                                   Group) knew orsh。Uld have known wouid be harmfu=o Ms. C「oss, Who is eIderly, reCen†iy los†
                                        「7
                                                   her husband′ and who depends on †he re†ained funds and †he income genera†ed by †hem for
                                        18
                                                   her suppoh and main†enance.
                                        「9
                                                           Based on †he wrongfuI and bad fa帖conduc† of Defendan† Michal (on behaif of
                                        20
                                                  Defendan† Reaven′ On behalf of Defendan† Legacy PaThers, On behaIf of Defendan† Murchison
                                        21
                                                  Equi†y, On behaif of Defendan† Mu「chis。n Asse† Group), Ms. C「oss刑ed su汀agains† Defendan†
                                        22
                                                  Michai′ Defendan† Reaven′ Defendan† Legacy Pariners′ Defendan† Murchison Equi†y, and
                                        23
                                                  Defendan† Murchis。n Asse† Gr。UP Seeking damages based on (1) Financia旧der Abuse w刷
                                        24
                                                  Enhanced Remediesl; (2) Re†urn of Trus† Asse†s and Award of Doubie Damages2; (3)
                                        25

                                        26

                                        27
                                                  l Welf. And Ins†. Code, §§ 15610,30, 15657.5
                                    28
                                                  2 prob. Code, §§ 850, SUbd, (a)(3)(8), 859




                                                                                                      3
Filed 09/05/23                                                                                 Case 23-02064                                                          Doc 1

                                                                           圏圏                                              圏困

                                                       Conversion3; (4) Breach of Con†rac†4; (5) Breach o白he Covenan† of G○○d Fa而and Fair


                                                        Deaiing5; (6) Money had and Received6; and (7) UnlawfuI Business Ac†7.


                                                 3              An Entry of Defaul† was en†ered agains† Defendan† Michal, Defendan† Reaven, Defendan†


                                                 4     Legacy Partners′ Defendan† Murchison Eq而y′ and Defendan† Murchison Asse† Group on 」uly


                                                 5     1 8, 201 7, †hereby es†ablishing †he liab冊y of Defendan† Michal, Defendan† Reaven, Defendan†


                                                 6     Legacy Partners′ Defendan† Mu「chison Equi†y, and Defendan† Murchison Asse† Group on †hese


                                                 7     SeVen CaUSeS Of ac†ion. Due †○ †he fac† †ha† †hese defendan†s are Iiabie forfinancial elde「 abuse′


                                                 8     Ms. Cross is en冊Ied †o a iudgmen† equa=o twice †he vaiue o白he ou†s†anding balance on †he


                                                 9     PrOmissory no†e′ aS Well as a什omey fees and cos†s.8 Add前onalIy, because †he defendan†s knew


                                            「0         Or Should have known †ha††heir conduc† was direded †o one or more senior ci†izens, Ms. Cross
                                                 ﹁‑




                                                       is e刷Ied †o recover up †○ †hree †imes †he value o白he ou†s†anding balance of †he promissory
   Ud.卜≦寸書ト宙Dコ〇日富山缶○山

                        uここSU︺‡SU⁚昭S㌫n吉競



                                                 2




                                                       no†e.9
                                                 3
                                                 ﹂4




                                                                                             」UDGMENT TO BE ENTERED
                                                 仁J




                                                        Principal BaIance on P「omissory No†e                                                   $      300,000.00

                                           「6           丁o†ai Accrued in†eres†佃ee In†eres† Compu†a†ion)                                        $      48,789.04

                                           17           Cos†s (see Memorandum of Cos†s and Disbursemen†s)                                      $           4,6「4.02

                                           「8          A廿omey Fees tsee A什omey Fee Reques†)                                                    $      27,797.50

                                           19          Proba†e Code sec†ion 859 Enhancemen†                                                    $     348,789.07

                                           20          Civii Code sec†ion 3345 Enhancemen†                                                     $     348,789.07

                                           21          TOTALS                                                                                  $ 「,078,778.70

                                           22

                                           23

                                           24
                                                      3 Feo「on v・ Deporf. ofCorrections (1 984) 62 Ca上App.3d 1 254
                                           25
                                                      4 Richmon v. Hc面ey(2014) 224 Ca上App.4†h l 182, 1 186
                                                      5 ComunoIe v・ 7Jc'de′S & Genero=ns. Co. (1958) 50 Ca上2d 654, 658
                                           26
                                                      6 Moins v. City 7i†Ie lns. Co. (1949) 34 Ca上2d 580, 586
                                                      7 Bus. & Prof. Code, § 17200
                                           27
                                                      8 prob. Code, § 859 (see H帖∨・ Sup. C†・ (2016) 244 Ca上App.4th 1281, 1285 [hoIding †ha††he doubie recovery

                                           28         remedy provided in Proba†e Code sec†ion 859 is no† a recovery of   pu冊ve or exempiary damages′′].〉
                                                      9 civ. Code, §3345




                                                                                                                4
Filed 09/05/23                                                                                  Case 23-02064                                                                        Doc 1

                                                                            函田圃                                           圏圏

                                                                                                INTERES丁COMPUTATlON




                                                           PrincipaI Baiance on Promissory No†e                                                 $      300,000.00

                                                   4       In†eres† Ra†e pursuan† †o Promissory No†e                                                                            8%

                                                   5      Annua=n†eres†                                                                         $          24,000.00

                                                   6      Daily in†eres†                                                                        $                     65.75

                                                   7      Days Since Las†冊eres† Paymen† (」uIy l, 2016,†o 」uly 13, 2018)                                                    742

                                                   8      To†a帖†eres† Compu†a†ion                                                               $      48,789.04

                                                   9
                                                                                 MEMORANDUM OF COSTS AND DISBURSEMENTS
                                              「0




                                                                                                                                                                                0
                                                                                                                                                                                0
                                                                                                                                                                      3
                                                                                                                                                圏




                                                                                                                                                                           ︺
                                                                                                                                                                           ト
                                                                                                                                                                           ﹁
                                              帥




                                                                                                                                                                 4.
                                                          Clerk′s帥ng Fees
   Ud.之〆寸書白露○コ○出卜山田○山

                        ∈しこSU︺館]SU⁚均S㌫n丁場競




                                                                                                                                                関
                                                   2




                                                                                                                                                                                0
                                                                                                                                                                                2
                                                                                                                                                            4

                                                                                                                                                                      2
                                                                                                                                                                           0/
                                                                                                                                                                0
                                                          Process Server′s Fees




                                                                                                                                                田曲




                                                                                                                                                                      ﹁0
                                                   3




                                                                                                                                                                ﹁‑



                                                                                                                                                                                0
                                                                                                                                                                                0
                                                                                                                                                                           0
                                                          」ury Fees
                                                   .4




                                                                                                                                                的圏




                                                                                                                                                                                j
                                                          A什omey FeeslO
                                                   ﹁0




                                                                                                                                                                                0
                                                                                                                                                                       0

                                                                                                                                                                                O
                                                          O†her




                                                                                                                                                            4
                                                                                                                                                団的




                                                                                                                                                                                0
                                                                                                                                                                       4
                                                                                                                                                                ノ0




                                                                                                                                                                                2
                                              「6          丁o†ai Cos†s and Disbursemen†s


                                             「7


                                             「8                   I am †he a廿omey who ciaims †hese cos†s. To †he bes† of knowledge and beiie白his


                                             「9         memorandum of c○s†s is corred and †hese cos†s were necessar=y incurred in †his case.


                                             20                 1 declare under pena申y of periury under †he laws o白he S†a†e of CaIifomia †ha† †he


                                             2「         fo「egoing Memorandum of Cos†s and Disbursemen†s is †rue and correc†.


                                             22
                                                        DATED 」uIy 1 3, 201 8.                                          FORETHOUGHTLAW, PC
                                             23

                                             24

                                             25

                                             26

                                             27
                                                        10 pIain†if白s reques†ing a什o「ney fees pursuan† †o Proba†e Code sec†ion 859 and WeIfare and lns冊∪†ions Code

                                             28         Se。ion 15657.5, SUbdivision (a), in †he amoun† of $22,932.50. This reques† is made in a separa†e se。ion. For

                                                        informa†ional purposes, PUrSUan† †o Locai Rule 4.07, SCheduled a什omey fees would be $1 0,275.78.




                                                                                                              5
Filed 09/05/23                                                                                 Case 23-02064                                                               Doc 1

                                                                             圏圏                                             圏困

                                                  「                                             A丁TORNEY FEES REQUEST

                                                  2


                                                  3             Ms. Cross is reques†ing ac†uaI′ reaSOnabie a什omey fees pursuan† †o Proba†e Code sedion


                                                  4     85911 and Welfa「e and lns出∪†i。nS C。de sec†ion 15657.5, SUbdivision (a)12. Through †he Entry


                                                  5    Of Defaul†′ †he defendan†s are liable for FinanciaI EIder Abuse and in bad fa油wrongful‑y


                                                  6    re†aining asse†s beIonging †o a †rus†. As such, †he Proba†e Code and Welfare and Ins†itu†ions


                                                  7    Code au†horize and ins†ruc† †he Cou旧o award a廿o「ney fees †o Ms. Cross.


                                                  8             As a resul† o白he ac†i。nS Of defendan†s, Ms. Cross has incurred $27,797.50 in a廿orney


                                                  9    fees. A廿omey Bryan L. Phipps b用ed 78.3 hours a† an hourly ra†e of $325.00 †○ $350.0013. A


                                             「0        †o†aI of 6.3 hou「s were b用ed by 」aymee Eshleman, a Cer証ied paralegal who a。ed under†he


                                             田         direc†ion and supervision of an a廿omey, and who sa†isfies one or more o白he minimum
   Ud.きく〇十日U丑〇日富山缶○山

                       重富こS〇㌦鳥山SU⁚回のlSn仁の




                                             「2        quaIifica†ions specified in Business and Professions Code sec†ion 6450, SUbdivision (c), and who


                                             「3        has compIe†ed manda†ory c〇両nuing educa†ion required by Business and Professions Code


                                             「4        Sedion 6450, SUbdivision (d), for †he las† two‑year Cer描ca†ion period ending before †he year


                                             「5        during which any part of he「 services were performed.


                                            16                 The services provided by Fore†hough† Law′ PC incIude case evalua†ion; d「a軸ng †he


                                            「7        Compla而and Amended Compla両reviewing and analyzing o†her pleadings; advising Ms.


                                            18        Cross regarding her Iegal righ†s and responsib帖es; COmmUnica†ing w血Ms・ C「oss †hrough


                                            「9        O苗ce visi†s, †eiephone ca=s, mai上and ema車communica†ing w皿defendan†s or †heir counseI


                                            20        †hrough o冊ce visi†s, †eIephone caiis, mail, and emc直communica†ing w刷○†her reIevan† †hird


                                            2「

                                            22
                                                      11冊a cour再inds †ha† a person has in bad fa加wrong帥y †aken, COnCealed, Or disposed of property beIonging †o

                                            23        a conserva†ee, a minor, an eider, a dependen† aduI†, a †rus†, Or†he es†a†e of Q deceden†, Or has †aken, COnCealed,

                                                      Or disposed o白he property by †he use of undue潮uence in bad fa油or †hrough †he commission of elder o「

                                            24        dependen† adu帖nancial obuse′ aS defined in Se。ion 1 561 0.30 0白he Welfare and lns冊u†ions Code, †he person
                                                      Sha= be liabIe for †wice †he value o白he property recovered by an action under †his par口n oddi†io=, eXCeP† as

                                            25        O†herwise required by law′ inciuding Sec†ion 1 5657.5 o白he WeIfare and lns冊u†ions Code, †he person may言∩ †he
                                                      COU出s discre†ion′ be liable for reasonabie a什omey‑s fees a=d cos†s. The remedies provided in †his sec†ion sho‖ be

                                            26        in addi†ion †o any o†her remedies ava吊dbie i= Iaw†o a person au†horized †o bring an action pursuan††○ †his part.〃

                                                      (Prob. Code, § 859.)
                                                      12 〃Where旧s prove晶y a prepc;「一der〇nC:e O白he evide‑1Ce †ha† a defendan=s ‑iab‑e for financial abuse声3 JeFi"ed
                                            27
                                                      in Sec†ion 1561 0・30′ in add砧on †o compensa†ory damages and ali o†her remedies o†herwise provided by Iaw, †he

                                            28        COUrf shaIi award †o †he pIoin碓reas。nabie a廿。mey s fees and cos†s.〃 (Weif. & lns†. Code, § 15657.5, SUbd. (a).)
                                                      13The hourly ra†e of Bryan L Phipps inc「eased during †he course o白he represen†a†ion.




                                                                                                              6
Filed 09/05/23                                                                             Case 23-02064                                                 Doc 1

                                                                           田圃                                     緯一命

                                                      1
                                                           Parties †hr。Ugh †eIeph。ne Cails, maiI, and emc直dra宙ng o†her appropria†e pIeadings, mO†ions,


                                                     2     and documen†s (e・g・, CMC S†a†emen†s, Reques† for Entry of Defaul†, DefauI† 」udgmen†); COUrf


                                                     3     appearances on behaif of Ms. Cross′ fac†ual inves†iga†ion; legal resea「ch and anaIysis; and


                                                     4     se山emen† evalua†ion and discussions丁4.


                                                     5            丁he amoun† o白ime and †he na†ure o白he services providきd were reasonabiy necessary




                                                          DATED」uIy 13, 2018.                              FORETHOUGH丁LAW, PC
   Ud.きく〇十日On〇日十円出○山
                       重富にSU]鴫︺SU⁚均誓Sn細]∴G



                                                     (∠
                                             i
                                             ‑


                                                     3
                                             ‑○○小山


                                                     4




                                                                                   DECLARATION OF NON‑M旧TARY SIA丁US
                                             ∵‖


                                                     貫J




                                                                 No defendan† named herein (i.e., Defendan† Michai, Defendan† Reaven, Defendan†
                                             「6
                                                          Legacy Partners, Ddendan† Murchison Equrty, and D。f。nd。n† M。r。his。n Ass。† Gr。UP) is in †h。
                                             「7
                                                          m而ary service as †ha† †erm is defined by e刷er †he Servicemembers Civil ReIief Ac†, 50 U.S.C.
                                             「8
                                                          App. § 391 1 (2), Or Califomia M冊c"γ and Ve†e「ans Code sec†ion 400(b).
                                             19
                                                                 i decIare under penal†y of periury under †he laws o白he S†a†e of Ca庸omia †ha† †he
                                             20
                                                          foregoing Deciara†ion of Non‑M冊ary S†a†us is †rue and cor「ec†.
                                             2l




                                                                                                    By:

                                                                                                          A廿omeys for Eldena Cross




                                             27
Filed 09/05/23     Case 23-02064   Doc 1




                 EXHIBIT C
Filed 09/05/23                                                  Case 23-02064                                                             Doc 1


                                                                                                                                JUD・100
       AT「ORNEYORPARTYW汀HOUTAT「ORNEYW∂me.S(∂tob∂rnumbe{andad伽ess):            酎」臣顕 現38 upeot StateoCalifornia CountyofNevada
       BryanL.Phipps,SBN271453
       Fore瓜oughtLaw,PC
        1101InvestmentBoulevard,Suite150,EIDoradoHills,CA95762
               TEしEPHONENO∴916‑235‑8242          FAXNO.働fo。。       :916‑241‑0907
        巨岩罵言諾岩:艶悪態芸能盤W・COm
      SUPE禁器慧F鮒認擢器gl聾ADA
           MA‑LINGADDRESS‥201ChurchStreet,Suite5
           CllYANDZIPCODE:NevadaCity95959
              BRANCHNAM∈:NevadaCityDivision

               PLAINTIFF:EldenaCross

            DEFENDANT:Schisler,et.al.

                                           JUDGMENT
          □ByClerk               田     ByDefa亜                  亡コ        AfterCourtTrial                      CU17‑082183
          田ByCo血        [コ      onstipuIation           Eコ     DefendantDidNot
                                                                   AppearatTrial

                                                                  JUDGMENT
     l.田BYDEFAUしT
              a. Defendant was properly served with a copy ofthe summons and complaint.
              b. Defendant failed to answer the complaint or appear and defend the action within the time a=owed by law.
              C. Defendantls defauIt was entered by the clerk upon pIaint揃f    s application.

              d. □ Cierk     s Judgment (Code Civ・ Proc., § 585(a)). Defendant was sued onIy on a contract orjudgment ofa court of
                       this state for the recovery of money.

              e.田Court Judgment (Code Civ. Proc., § 585(b)). The court considered

                       (1) □ plaintiffs testimony and other evidence.

                       (2)田Piaint肝s written deciaration (Code Civ. Proc., § 585(d)〉・

     2.亡コ     ONSTIPULATION
              a・ Plain肺and defendant agreed (Stipulated) that a judgment be entered in this case. The ∞urt aPProVed the stipuIated

                  judgmentand
              b. □ the signed w融en stipuiation was filed in the case.

             c.亡コthe stipuIation was stated in open co血           [コthe stipuIation was stated on the record.


    3. □ AFTER COURT TRIAし. The jury was waived. The court considered the evidence.

             a. The casewas tried on pete and勅7?匂:

                  before佃ame ofルC胸eI o飾ceI):

             b・ Appearances by:


                 [二] piaintiff画ame eac母                                                   [二] pIaint洞ls attomey画ame eac時

                       棚                                                                         間
                       (2)                                                                       〈2)

                 □ continued on Attachment 3b.


                 □ Defendant        )ame eaC母                                             □     Defendant ‑s attomey巾ame eac母

                       困聞                                                                        棚

                       〈2)                                                                       (2)
                 □ Continued on Attachment 3b.


             C. [コDefendant did not appear at triai. Defendant was properly served with notice oftrial.



             d. [コAstatementofdecision 〈CodeCiv.Proc.,§632) Eコwasnot [二] was requested.




                                                                JuDGIVIENT
Filed 09/05/23                                                     Case 23-02064                                                                       Doc 1

                                                    軸                                           菓臆臆臆齢

        PしAINTIFF:EldenaCross


      DEFENDANT:Schisler,et.al.                                                                      CU17‑082183
                 JuDGM削T IS削TERED AS FOししOWS BY:                                 田THE COURT EコTHE CL駅I(

      4. [コ   stipulated Judgment. Judgment is entered according to the stipuiation ofthe parfes.


      5. Parties. Judgment is

         a. [Z] forplain描画ame eac伊                                                     c・ [二] for cross‑∞mPlainant有oame eac母
                   Eldena Cross, individually and as trustee
                   and against defendant巾ames):                                                  and against cross‑defendant互ame eaCり:

                   David Michal

                   田Continued on Atfachment 5a.                                                 暮コContinued on Attachment 5c.

         b.亡コfordefendan時ame eac母
                                                                                       d・暮コfor c「oss‑defendant佃ame eac母



     6. Amoun章.

        a. [Z] Defendant named in item 5a above must                              c.亡コCross‑defendant named in item 5c above must pay

                  Pay Plaintiff on lhe complaint:                                             CroSS‑COmPlainant on the cross‑COmPlaint:



       (1)[王]             Damages                 $300,000.00                       (1)□                Damages               $
       (2)[壬]      Prejudgment         $48,789.04 $27,797.50                        (2)亡コ            Prejudgment            $ $
                   intel.eStatthe                                                                interestatthe
                   amualrateof8.0             %                                                  annuairateof           %
       (3)[エコ     Atto「neyfees                                                      (3)亡コ      Attorneyfees

       (4)田             Cos〔s                 $4,614.02                            (4)□                 Costs            $    $
       (5)田        Otherfrecify):                   $697,578.14                    (5)□       OthertwecifyJ:
                   859/3345Enhancer
       (6)          TOTAL               $1,078,778.70                              (6)                 TOTAL                  $

        b. □ pIaintiff to receive nothing from defendant                          d.亡コ     Cross‑COmPlainant to receive nothing from
                 named in item 5b.                                                           C「OSS‑defendant named in item 5d.

                 □ Defendant named in item 5b to recover                                     □ cross‑defendant named in item 5d to recover
                      C○StS $                                                                       C○StS $
                      □ and atto「neyfees $                                                          亡コand attomeyfees $


    7. [Z] other佃oec動:

              Defendants named in item 5a above shall


    Da槻ノ勧                                                 函
    Date‥                                                    □ cie「k, by


                                                        CLERK   S CERT営FICATE (Qpfrona〃

                                     l certify thatthis is‑a true COPy Of the original judgment on file in the court.


                                    Date:




                                                                   CIerk, by                                                              Depu旬



                                                                                                                                          Pa9e 2 °f2
Filed 09/05/23     Case 23-02064   Doc 1




                 EXHIBIT D
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
Filed 09/05/23   Case 23-02064   Doc 1
